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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                                        Case No. 21-cr-52 (TJK)
                v.
                                                        UNDER SEAL
DOMINIC PEZZOLA,
Also Known As "Spaz,"                                 Case No. 21-cr-52
Also Known As "Spazzo,"                               Assigned to: Judge Timothy J. Kelly
Also Known As "Spazzolini,"                           Assign Date: 4/16/2021
                                                      Description: SUPERSEDING INDICTMENT 1B)
WILLIAM PEPE, and                                     Case Relatd to 21 CR- ;2 (TJK)



MATTHEW GREENE,

                Defendants.



                                               ORDER

        The United States has filed a motion to seal the above-captioned First Superseding

Indictment, Arrest Warrant, and related documents, including the application and affidavit in

support thereof and all attachments thereto and other related materials (collectively the "First

Superseding Indictment").

        The Court finds that the United States has established that a compelling governmental

interest exists to justify the requested sealing, and that there is reason to believe that disclosure of

the First Superseding Indictment and Arrest Warrant would jeopardize the investigation by

providing the subjects of the investigation an opportunity to destroy evidence or flee.

        IT IS FURTHER ORDERED that, notwithstanding this Order to Se al, the Government

may disclose the First Supe rse ding Indictme nt and Arre st Warrant to (1) appropriate U.S. and
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foreign law enforcement officials and other officials and personnel to the extent that such

disclosure is in furtherance of national security or efforts to locate, arrest, detain, transfer, extradite,

or expel the defendant, and (2) the court, court officials, and defense counsel in this district or any

other appropriate district as necessary to conduct any court proceedings in that district.

        It is, therefore, this 24th day of March, 2021,

        ORDERED that the motion is hereby GRANTED, and that the First Superseding

Indictment, Arrest Warrant, Affidavit, and related documents, the instant motion to seal, and this

Order be SEALED until further order of the Court. It is

        FURTHER ODERED that the First Superseding Indictment remain sealed until further

order of this Court, or until Matthew Greene is arrested pursuant to the warrant issued

contemporaneously with this Indictment, whichever occurs first.




                                                 ROBIN M. MERIWEATHER
                                                 UNITED STATES MAGISTRATE JUDGE
